               Case 20-10801-elf        Doc 50-2       Filed 04/27/21 Entered 04/27/21 10:05:01                Desc
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                IN RE:                              :
                    Richard G. Novotny              :      Chapter 13
                    Beverly J. Novotny              :      Case No. 20-10801-ELF
                    Debtor(s)                       :
____________________________________________________________________________________________


 NOTICE OF SUPPLEMENTAL APPLICATION FOR COUNSEL FEES PURSUANT TO SECTION 331 OF THE
                                BANKRUPTCY CODE

        To the debtor and all parties in interest, NOTICE is hereby given:

        1.       That Brad J. Sadek, Esquire, counsel for the Debtor(s) in the above-captioned matter, has filed an Application
with this Court for Allowance of Compensation in connection with his legal services rendered to the debtor in these
bankruptcy proceedings.

       2.      That the Application requests the court to enter an Order approving counsel fees in the amount of $3,990.50
and advanced costs in the amount of $0.00.

         3.     That any answer, objection, responsive pleading or request for hearing in writing must be filed with the Clerk
of the United States Bankruptcy Court, Robert N.C. Nix Sr. Federal Courthouse, 900 Market Street, Philadelphia, PA 19107,
and a copy thereof served on the counsel whose name and address appear below, within twenty-one (21) days from the date of
this notice.

       4.       That in the absence of an answer, objection or request for hearing, counsel will certify same to the Court after
twenty-one (21) days from the date of this notice and the Court may enter the proposed Order approving said counsel fees.


Dated: April 27, 2021                                    SADEK AND COOPER,

                                                         BY: /s/ Brad J. Sadek, Esquire
                                                         1315 Walnut Street, #502
                                                         Philadelphia, PA 19107
                                                         215-545-0008
                                                         Counsel for Debtor(s)
